Case 1:19-cv-24766-KMW Document 197 Entered on FLSD Docket 05/31/2022 Page 1 of 2



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO. 19-24766-CIV-WILLIAMS

   JANE DOE,

           Plaintiff,

   v.

   CARNIVAL CORPORATION,

           Defendant.

   ________________________/

                                                  ORDER

           THIS MATTER is before the Court on Chief Magistrate Judge Edwin G. Torres’s Report

   and Recommendation (“the Report”) (DE 151) that the Court grant Plaintiff Jane Doe’s

   (“Plaintiff”) Motion for Partial Summary Judgment (“Plaintiff’s Motion”) (DE 92) and grant

   Defendant Carnival Corporation’s (“Defendant”) Motion for Partial Summary Judgment

   (“Defendant’s Motion”). (DE 94.) Defendant filed objections (DE 153), to which Plaintiff did not

   respond.

           Upon an independent review of the Report, the record, and applicable case law, it is

   ORDERED AND ADJUDGED as follows:

        1. The conclusions in the Report (DE 151) are AFFIRMED AND ADOPTED.

        2. Plaintiff’s Motion (DE 92) is GRANTED. At trial, Defendant may not challenge its prima

           facie vicarious liability for the period of false imprisonment that Plaintiff was intentionally

           subjected to by Defendant’s employee. However, any affirmative defenses that Defendant

           has raised to this claim may still be adjudicated by the trier of fact. Further, the amount of

           damages that Defendant is liable for is also subject to jury determination.

        3. Defendant’s Motion (DE 94) is GRANTED. Count III of Plaintiff’s Complaint (DE 1),

           regarding Defendant’s negligent infliction of emotional distress, is DISMISSED. An order

           of final judgment as to Count III will follow separately.


                                                Page 1 of 2
Case 1:19-cv-24766-KMW Document 197 Entered on FLSD Docket 05/31/2022 Page 2 of 2



        DONE AND ORDERED in Chambers in Miami, Florida on this 31st day of May, 2022.




                                       Page 2 of 2
